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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

                                      Case No: 20-cr-00249-RS-1
                                     Case Name: USA v. Andrade

                           TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                            GOVERNMENT ATTORNEYS:                  DEFENSE ATTORNEYS:
Richard Seeborg                   David Ward, Christiaan Highsmith,      Michael Shepard, Kerrie Dent,
                                  Matthew Chou                           Cindy Diamond, Dainec Stefan
TRIAL DATE:                       REPORTER(S):                           CLERK:
2/21/2025                         Ana Dub                                Corinne Lew

PLF    DEF DATE/TIME
NO.    NO. OFFERED           ID      REC      DESCRIPTION                                         BY
           2/21/2025
             8:07 – 8:15                      Court convened. Counsel present. Parties
             am                               discussing matters outside the presence of the
                                              jury.
             8:33 am                          Court reconvened. Counsel present. Parties
                                              discussing matters outside the presence of the
                                              jury.
             8:34 am                          Jury Present.
             8:34 am                          Government calls witness John Bryan. Direct by
                                              D. Ward.
1459         8:50 am         X       X        Email from J. Bryan to Chet Fenster.
435          8:55 am         X       X        Email from J. Bryan to J. Abramoff.
897          8:58 am         X       X        Whatsapp message from Abramoff’s seized
                                              phone.
1029         9:05 am         X       X        Message re super bowl ad.
432          9:09 am         X       X        Email from M. Andrade to J. Bryan.
434          9:15 am         X       X        Email from J. Bryan to J. Abramoff.
433          9:21 am         X       X        Letter to Eric Olsen dated 6/1/2028.
1034         9:29 am         X       X        Watley Trading Platform.
902          9:38 am         X       X        Whatsapp message.
             9:39 am                          Break
             9:59 am                          Court reconvened.
                                              Jury Present.
             9:59 am                          Resume direct of J. Bryan by D. Ward.
1151         10:13 am        X       X        John Bryan “Project Sunshine”
1037         10:16 am        X       X        Whatsapp exchange from J. Bryan and J.
                                              Abramoff.
420          10:26 am        X       X        Email exchange from J. Bryan and J. Abramoff.
1069         10:39 am        X       X        Email from J. Bryan to J. Abramoff.

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                                 Case No: 20-cr-00249-RS-1
                                Case Name: USA v. Andrade
                                  Date: February 21, 2025
           Courtroom Deputy: Corinne Lew          - Court Reporter:        Ana Dub

                         EXHIBIT and WITNESS LIST CONTINUED

PLF    DEF DATE/TIME
NO.    NO. OFFERED         ID      REC     DESCRIPTION                                         BY
           10:44 am                        Break
            10:59 am                       Court reconvened.
                                           Jury Present
            10:59 am                       Cross of witness J. Bryan by M. Shepard.
       2105 11:17 am       X       X       Email from J. Abramoff to J. Bryan dated
                                           1/29/2018.
       2106 11:19 am       X       X       Consulting Agreement.
       2221 11:48 pm       X       X       Email from J. Abramoff to J. Bryan dated
                                           4/12/2018.
       2253 11:52 pm       X       X       Internal Memo.
            12:11 pm                       Re direct of J. Bryan by D. Ward.
418         12:16 pm       X       X       Email from J. Bryan dated 6/5/2018.
            12:23 pm                       Re cross of witness J. Bryan by M. Shepard.
            12:28 pm                       Break
            12:29 –                        Court and counsel present discussing matters
            12:30 pm                       outside the presence of the jury.
            12:42 pm                       Court reconvened.
                                           Jury Present.
            12:42 pm                       Government calls Victoria Hernandez. Direct by
                                           D. Ward.
1433        12:50 pm       X       X       Summary of IRS Facts of Filings
            12:51 pm                       Cross of witness V. Hernandez by D. Stefan.
            12:52 pm                       Witness V. Hernandez excused.
            12:53 pm                       Jury excused for the day – return on 2/24/2025 at
                                           8:30 am. Counsel to appear at 8:00 am.
            12:57 pm                       Court and counsel present discussing matters
                                           outside the presence of the jury.
            12:57 pm                       Court in recess.




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